 

* Case: 1:10-cv-05794 Document #: 1 Filed: 09/13/10 Page 1 of 10 PagelD #:1

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“SP 1g

 

 

UNITED STATES DISTRICT COUR’ co 19 2010
FOR THE NORTHERN DISTRICT OF ILLINOIS ou IZ SD10
EASTERN DIVISION CLERK Ah W. Bos eons
Ni decscg ne \us hea ms
10cv5794
UName of the plaintiii or plamntifis)

 

4g. Judge Mason

Oe Deen, heat

(Naine of the defendant or deténdants)

COMPLAINT OF EMPLOYMENT DISCRIMINATION
1. This is an action for employment discrimination.

2. The plaintiff is SS \ Leetboam S of the county of

Cony in-the state of ALS.
d q : " j - HA

3. Thedefendantis

 

 

   
 

whose street address

 

_(county) , a _(State) ae AP) _ bas 3
(Defendant telephone: nurnber). “ UE ) Alle = AO

. IF: The* plaintiff: sought. enployment | ors was “employed. by” “the ‘defendant. at’ (street address) |

bo 6.1 We tein PNY
(county) cna (state) < ae code} Lol 53

 

  

 

5. The plaintiff [check one box|
@)L_] was denied employment by the defendant.
wy] was hired and is still employed by the defendant.

ok] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) O4 , (day)_ D2 _, (year)_Aood.
 

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7.1 (Choose paragraph 7.1 or 7.2, do NOT complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff [check one bax|

 

[has not KI has filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with any of the following government agencies:

(i) Kl the United States Equal Employment Opportunity Commission, on or about
(month) [¥ 2 (day) (year)

(ii) eA the [inoys Department of Human Rights, on or about
mo

nth) (day)_ 2O-_ (year) 2oo% .

(b) Ifcharges were filed with an agency indicated above, a copy of the charge is ttached. Rf ves. J NO,

but plaintiff will file a copy of the charge within 14 days.
itis the policy of both the Equal Employment Opportunity Commission and the Llinois Department of Human

Rights to cross-file with the other agency all charges received. The plaintiff has no reason to believe that this
policy was not followed in this case. .

72 The defendant is a federal governmental agency, and
- (a) the plaintiff previously filed a Complaint of Employment Discrimination with the defendant asserting

‘the acts of discrimination indicated in this court complaint.

 

Oo . .¥es (month) oe _ (day), vo. (year)
LJ No, did not ‘file Complaint of Employment Discrimination
“2. . The plaintiff received .a Final Agency Decision on (month)
(day)__ (year)

c. Attached is a copy of the
a. Complaint of Employment Discrimination,

L] YES L NO, but a copy will be filed within 14 days.
(ii) Final Agency Decision

[] YES L] NO, but a copy will be filed within 14 days.

8. (Complete paragraph 8 only tf defendant is not a federal governmental agency.)
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10.

lL

12.

(a) [7] the United States Equal Employment Opportunity Commission has not issued a Notice of Right
to Sue.

oO the United States Equal Employment Opportunity Commission has issued a Notice of Right to

Sue, which was received by the plaintiff’ on (month) on (day) 30
(year) Oly a copy of which Notice is attached to this complaint.

 

’ The defendant discriminated against the plaintiff because of the plaintiff’ s [check only those that apply}:

(a) -Age (Age Discrimination Employment Act).

LH eater (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(c} Disability (Americans with Disabilities Act or Rehabilitation Act)

aL | ational Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(e) Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(][_] Religion (Title VII of the Civil Rights Act of 1964)

() Sex (Title VII of the Civil Rights Act of 1964)
_. If the defendant i is a State, county, municipal (city, town or village) or other local governmental agency,

plaintiff further alleges discrimination on the basis of race, color, or national origin (42 U.S.C. § 1983). _.

. Jurisdiction over the statutory violation alleged is conferred as. follows: for Title Vil claims by 28 |
-U~LS.C,§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C. §2000¢- -5()(3); for 42.U.S.C. §1981 and §1983 by
42 U.S.C.81988; for the A.D.E.A. by 42 U.S.C.§12117; for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply]

(a)L_| failed to hire the plaintiff.

ow] terminated the plaintiff's employment.

ol] failed to promote the plaintiff.

(ayL_ failed to reasonably accommodate the plaintiff's religion.
ce)L_] failed to reasonably accommodate the plaintiff's disabilities.
@L.] failed to stop harassment;

«LI retaliated against the plaintiff because the plaintiff did something to assert rights protected by
the laws identified in paragraphs 9 and 10 above;

(h)L_] other (specify):

 

 

 

 

 

 
 

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13.

 

 

 

 

 

 

 

14, [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully discriminated
against the plaintiff.

15. The plaintiff demands that the case be tried by a jury. L_] YES If no
16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check only

those

~@Ld
coo]
co]
@L]
-@L]
Ld

that apply]

Direct the defendant to hire the plaintiff.

Direct the defendant to re-employ the plaintiff.

Direct thie defendant to promote the plaintiff

Direct the defendant to Feasoriably accommodate the plaintiff’ s religion:
Direct the defendant to reasonably accommodate the plaintif?: s disabilities.
Direct the defendant to > (specify):

 

 

 

 

 

If available, grant the plaintiff appropriate injunctive relief, lost wages, liquidated/double
damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-
jadgment interest, and costs, including reasonable attorney fees and expert witness fees.

Grant such other relief as the Court may find appropriate.

in velee Lia Weare

Plaintiff's signature

Naedeur Neral LDams

Plaintiff's name
 

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Maedene We licams
Plaintiff's street address | 024 “Thoma Ss ten

city 4 Dees | frek State “LL a ZIP lo o1Z0

Plaintiff's telephone number | 0% 7 LF > - 22 SO

 

Date: ai [ 3/ Lh
Proc rome! (1108) Case: 1:10-CV-957 He DACEINAIt VMN T OH CRMIHOonMSs iNLO PagelD #:6

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Mardine Williams : From: Chicago District Office
1033 S Thomas Avenue . 500 West Madison St
Forest Park, IL 60430 Suite 2000

Chicago, IL 60661
CERTIFIED MAIL 7010 0290 0003 3520 8192

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEQC Representative : Telephone No.

Armernola P. Smith,
21B-2009-00250 State & Local Coordinator (312) 886-5973

 

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

_Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

QOOUU

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OF

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. {The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

John P. Rowelmngle 2010-06-17

 

 

Enclosures(s) John P. Rowe, (Date Mailed}

District Director

cc: LOYOLA UNIVERSITY MEDICAL
2160 S tst Ave
Maywood, IL 60153

 

 
 

* CHARGE OF VDE 7oRDMINATIONE ied: 09

This form is affected by the Privacy Act of 1974: See Privacy act statement
before completing this form.

(} EEoc

 

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Sb Wage 70 FOLARGE MURIPER
IDHK

2009C A1261

 

Illinois Department of Human Rights and EEOC

 

 

 

NAME (indicate Mr. Ms. Mrs.) HOME TELEPHONE (include area code)
Ms. Mardine Williams (708) 488-8063

STREET ADDRESS CITY, STATE AND ZIP CODE DATE OF BIRTH
1033 S. Thomas Avenue Forest Park, IL 60130 01/04/1957

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR
LOCAL GOVERNMENT AGENCY WHO DISCRIMINAFED AGAENST ME (IF MORE THAN ONE LIST BELOW)

 

 

 

 

 

NAME NUMBER OF EMPLOVEES, TELEPHONE (Include area code)

Loyola University Medical Center MEMBERS 15+ (708) 216-9000

STREET ADDRESS CITY, STATE AND ZiP CODE COUNTY

2160 S. 1° Avenue Maywood, IL 60153 : Cook

CAUSE OF DISCRIMINATION BASED ON: “]UDATE OF DISCRIMINATION
EARLIEST (ADEA/EPA) LATEST (ALL)

SEX RACE AGE PHYSICAL DISABILITY 08/22/2008

 

] CONTINUING ACTION

 

THE PARTICULARS ARE (if additional space is needed attach extra sheets)

 

I. A. ISSUE/BASIS
DISCHARGE ~ AUGUST 22, 2008, BASED ON MY SEX, FEMALE
B: PRIMA FACIE ALLEGATION
1. My sex is femaie.
2. I began my employment with Respondent as a Security Officer in September 1995.
My job performance met Respondent's legitimate expectations.
Continued...

 

1 aiso want this charge filed with the EEOC. I will advise the agencies if

. " SUBSCRIBED
change my address or telephone number and { will cooperate fully with them ’
in the processing of my charge in accordance with their procedures. THIS

SWORN TOCBEFOR

  

 

 

OFFICIAL SEAL
YOLANDA G GODWIN
NOTARY PUBLIC - STATE OF ILLINOIS

 

 

 

MY COMMISSION EXPIRES:08/21/11

 

NOTARY SEAL

SIGNATURE OF COMPLAINANT

 

   

I declare under penalty that the foregoing is true and correct I swear or affirm
that | have read the above charge and that it is (rue to the best of my
knowledge, information and belief

 

 

FORM 5 (5/05)

 
 

. Chafee umiberev286 794 Pagument #: 1 Filed: 09/13/10 Page 8 of 10 PagelD #:8
Complainant: Mardine Williams

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On August 14, 2008, I received a parking ticket for parking on the
third floor. I pay to park in Respondent’s garage and according to
Respondent’s policy employees are allowed to park between the third
and the sixth floor. On August 22, 2008, Maureen Froncek (female),
Manager, discharged me for receiving the parking ticket.

Similarly situated male employees have received numerous parking
tickets but they were not discharged.

I. A. ISSUE/BASIS

DISCHARGE - AUGUST 22, 2008, BASED ON MY AGE, 51

B. PRIMA FACIE ALLEGATIONS

l.

2.

My age is 51.

I began my employment with Respondent as a Security Officer in
September 1995. My job performance met Respondent’s legitimate
expectations.

 

3.

On August 14, 2008, [received a parking ticket for parking on the
third floor. [ pay to park in Respondent’s garage and according to
Respondent’s policy employees are allowed to park between the third
and the sixth floor. On August 22, 2008, Maureen Froncek (50+),
Manager, discharged me for receiving the parking ticket.

Similarly situated employees under 40 years of age or significantly
younger than myself have received numerous parking tickets and they
were not discharged. .

Ill. A.  ISSUE/BASIS

DISCHARGE -— AUGUST 22, 2008, BASED ON MY RACE, BLACK

B. PRIMA FACIE ALLEGATIONS

1.

2.

Continued...

My race is black.

I began my employment with Respondent as a Security Officer in
September 1995. My job performance met Respondent's legitimate
expectations.

 

 

 
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Charge Number: 2009CA1261

Complainant: Mardine Williams

 

Page 3
3. On August 14, 2008, I received a parking ticket for parking on the
third floor. I pay to park in Respondent’s garage and according to
Respondent’s policy employees are allowed to park between the third
and the sixth floor. On August 22, 2008, Maureen Froacek (non-
black), Manager, discharged me for receiving the parking ticket.
4. Similarly situated non-black, employees have received numerous
parking tickets and they were not discharged.
IV. A. ISSUE/BASIS
DISCHARGE — AUGUST 22, 2008, BASED ON MY PHYSICAL
DISABILITY, LEFT SHOULDER INJURY
B. PRIMA FACIE ALLEGATIONS
L 1 am an individual with a physical disability as defined within Section
1-103 (1) of the Illinois Human Rights Act.
2. Respondent is aware of my disability. -
3. On August 14, 2008, I received a parking ticket for parking on the
third floor. I pay to park in Respondent’s garage and according to
Respondent’s policy employees are allowed to park between the third
and the sixth floor. On August 22, 2008, Maureen Froncek, Manager,
discharged me for receiving the parking ticket. My discharge
occurred a few weeks before a scheduled surgery.
4, My disability is unrelated to my ability te perform the essential
functions of my job duties.
Vv. A ISSUE/BASIS
DISCHARGE - AUGUST 22, 2008, BASED ON MY PHYSICAL
DISABILITY, DIABETES
B. PRIMA FACIE ALLEGATIONS
A I am an individual with a physical disability as defined within Section

Continued...

1-103 (I) of the Tinois Human Rights Act.

2. Respondent is aware of my disability.

 

 
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; ChargeNumbers Sor “Arerume™ #: 1 Filed: 09/13/10 Page 10 of 10 PagelD #:10

Complainant: Mardine Williams
Page 4

3. On August 14, 2008, I received a parking ticket for parking on the
third floor. I pay to park in Respondent’s garage and according to
Respondent's policy employees are allowed to park between the third
and the sixth floor. On August 22, 2008, Maureen Froncek, Manager,
discharged me for receiving the parking ticket.

4. My disability is unrelated to my ability to perform the essential
functions of my job duties.

MEE/TFR

 

 

 

 

 
